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. UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF KENTUCKY — LEXINGTON DIVISION

PRISCILLA ROSADO-CRUZ, individually ELECTRONICALLY FILED
and on behalf of all others similarly situated,
Case No.:
Plaintiff,
COLLECTIVE ACTION

 

V.

KING-KELLY, INC, dba COWBOY’S
SHOWGIRLS, a Kentucky Corporation;
WARREN LEE KING, an individual;
KEVIN KING, an individual; and DOES 1
through 10, inclusive,

Defendants.

Pomme Meme Nee” Se me Na ee el ee ee ee le ee ee ee le”

 

COMPLAINT WITH JURY DEMAND

 

Plaintiff Priscilla Rosado-Cruz (“Plaintiff”), individually and on behalf of al! others
similarly situated, alleges the following upon information and belief, based upon investigation of
counsel, published reports, and personal knowledge:

L NATURE OF THE ACTION

1, Plaintiff alleges causes of action against defendants KING-KELLY, INC. dba
COWBOY’S SHOWGIRLS, a Kentucky corporation, WARREN LEE KING, an individual,
KEVIN KING, an individual, and DOES 1 through 10, inclusive, (collectively, “COWBOY’S
SHOWGIRLS” or “Defendants”) for damages due to Defendants evading the mandatory
minimum wage and overtime provisions of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et
seq.(“FLSA”), illegaily absconding with Plaintiff's tips and demanding illegal kickbacks

including in the form of “House Fees.”

 

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2. These causes of action arise from Defendants’ willful actions while Plaintiff was
employed by Defendants from approximately December 2018 to October 2020. During her time
being employed by Defendants, Plaintiff was denied minimum wage payments and denied
overtime as part of Defendants? scheme to classify Plaintiff and other dancers/entertainers as
“independent contractors.” As the Department of Labor explained inarecent Administrative

Interpretation:

Misclassification of employees as independent contractors is found in an
increasing number of workplaces in the United States, in part reflecting
larger restructuring of business organizations. When employers improperly
classify employees as independent contractors, the employees may not
receive important workplace protections such as the minimum wage,
overtime compensation, unemployment insurance, and workers’
compensation. Misclassification also results in lower tax revenues for
government and an uneven playing field for employers who properly
classify their workers, Although independent contracting relationships can
be advantageous for workers and businesses, some employees may be
intentionally misclassified as a means to cut costs and avoid compliance with
labor laws.

As alleged in more detail below, that is exactly what Defendants are doing in this case,

3. Plaintiff worked at Defendants’ facility, Cowboy’s Showgirls located at 1515
Russell Cave Road, Lexington, Kentucky 40505.

4. Defendants failed to pay Plaintiff minimum wages for all hours worked in
violation of 29 U.S.C. §§ 206 and 207 of the FLSA.

5. Furthermore, Defendants’ practice of failing to pay tipped employees pursuant to
29 U.S.C. § 203(m), violates the FLSA’s minimum wage provision. See 29 U.S.C. § 206.

6. Plaintiff brings a collective action to recover the unpaid overtime compensation
and minimum wage owed to her individually and on behalf of all other similarly situated
employees, current and former, of Defendants. Members of the Collective Action are hereinafter

referred to as “FLSA Collective Members.”

 

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7. As a result of Defendants’ violations, Plaintiff and the FLSA Collective Members
seek to recover double damages for failure to pay minimum wage, liquidated damages, interest,
and attorneys’ fees.

Il. PARTIES

8. At all times relevant, Plaintiff was an individual adult resident of the State of
Kentucky. Furthermore, Plaintiff was employed by Defendants and qualifies as an “employee”
of Defendants as defined by the FLSA, 29 U.S.C. § 203(e)(1). Her consent to this action is
attached hereto as Exhibit 1.

9. The FLSA Collective Members are all current and former exotic dancers who
worked at Cowboy’s Showgirls located at 1515 Russell Cave Road, Lexington, Kentucky 40505
at any time starting three (3) years before this Complaint was filed, up to the present.

10, Defendant KING-KELLY, INC. dba COWBOY’S SHOWGIRLS located at 1515
Russell Cave Road, Lexington, Kentucky 40505 is a Kentucky corporation with its principal
place of business at 1515 Russell Cave Road, Lexington, Kentucky 40505. At all times
mentioned herein, Defendant was an “employer” or “joint employer” as defined by the FLSA,
29 U.S.C. § 203(d) and (g). Defendant may be served via its agent for service of process,
Warren Lee King, 1638 Wild Turkey Court, Lexington, Kentucky 40511.

11. Defendant WARREN LEE KING (“Warren King” or “Defendant”’) was/is one of
the main manager(s)/owner(s) who executed the policies regarding payment to dancers and
management of dancers, including Plaintiff.

12. Warren King acted directly or indirectly on behalf of COWBOY’S
SHOWGIRLS, and, at all times mentioned herein were “employer(s)” or “joint employer(s)” of
Plaintiff within the meaning of the FLSA. He exerted operational and management control over
COWBOY’S SHOWGIRLS, including day to day management. He was, and is, frequently
present at, owns, directs, controls and manages the operations at COWBOY’S SHOWGIRLS.

He also controls the nature, pay structure, and employment relationship of Plaintiff and the

 

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FLSA Collective Members. Warren King had at all times relevant to this lawsuit, the authority
to hire and fire employees at COWBOY’S SHOWGIRLS, the authority to direct and supervise
the work of employees, the authority to sign on the business’ checking accounts, including
payroll accounts, and the authority to make decisions regarding employee compensation and
capital expenditures. Additionally, he was responsible for the day-to-day affairs of COWBOY’S
SHOWGIRLS. In particular, he was responsible for determining whether COWBOY’S
SHOWGIRLS complied with the FLSA. His residence for service of process is 1638 Wild
Turkey Court, Lexington, Kentucky 40356.

13. Defendant KEVIN KING (“Kevin King” or “Defendant”) was/is one of the main
manager(s)/owner(s)/officer(s) who executed the policies regarding payment to dancers and
management of dancers, including Plaintiff. His residence for service of process is 109
Cambridge Lane, Nicholasville, Kentucky 40356.

14. Kevin King acted directly or indirectly on behalf of COWBOY’S SHOWGIRLS,
and, at all times mentioned herein were “employer(s)” or “joint employer(s)” of Plaintiff within
the meaning of the FLSA. He exerted operational and management control over COWBOY’S
SHOWGIRLS, including day to day management. He was, and is, frequently present at, owns,
directs, controls and manages the operations at COWBOY’S SHOWGIRLS. He also controls
the nature, pay structure, and employment relationship of Plaintiff and the FLSA Collective
Members. Kevin King had at all times relevant to this lawsuit, the authority to hire and fire
employees at COWBOY’S SHOWGIRLS, the authority to direct and supervise the work of
employees, the authority to sign on the business’ checking accounts, including payroll accounts,
and the authority to make decisions regarding employee compensation and capital expenditures.
Additionally, he was responsible for the day-to-day affairs of COWBOY’S SHOWGIRLS. In
particular, he was responsible for determining whether COWBOY’S SHOWGIRLS complied
with the FLSA.

15. DOES 1-10 are the managers/owners/employees or agents who control the

 

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policies and enforce the policies related to employment at COWBOY’S SHOWGIRLS.

16. The true names, capacities or involvement, whether individual, corporate,
governmental or associate, of the Defendants named herein as DOES 1 through 10, inclusive are
unknown to Plaintiff who therefore sues said Defendants by such fictitious names. Plaintiff prays
for leave to amend this Complaint to show their true names and capacities when the same have
been finally determined. Plaintiff is informed and believes, and upon such information and belief
alleges thereon, that each of the Defendants designated herein as DOE is negligently,
intentionally, strictly liable or otherwise legally responsible in some manner for the events and
happenings herein referred to, and negligently, strictly liable intentionally or otherwise caused
injury and damages proximately thereby to Plaintiff, as is hereinafter alleged.

17, At all material times, Defendants have been an enterprise in commerce or in the
production of goods for commerce within the meaning of 29 U.S.C. § 203(r)(1) of the FLSA
because they have had employees at their clubs engaged in commerce, which has travelled in
interstate commerce. Moreover, because of Defendants’ interrelated activities, they function in
interstate commerce. 29 U.S.C, § 203(s)(1).

18. Furthermore, Defendants have had, and continue to have, an annual gross
business volume in excess of the statutory standard,

19. At all material times during the three (3) years prior to the filing of this action,
Defendants categorized all dancers/entertainers employed at COWBOY’S SHOWGIRLS as
“independent contractors” and have failed and refused to pay wages or compensation to such
dancers/entertainers. Plaintiff was an individual employee who engaged in commerce or in the
production of goods for commerce as required by 29 U.S.C. §§ 206-207.

20. Plaintiff is informed and believes that, at all relevant times herein, Defendants
engaged in the acts alleged herein and/or condoned, permitted, authorized, and/or ratified the
conduct of its employees and agents, and other Defendants and are vicariously or strictly liable

for the wrongful conduct of its employees and agents as alleged herein.

 

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21. Plaintiff is informed and believes, and on that basis alleges that, each of the
Defendants acted, in all respects pertinent to this action, as the agent or employee of each other,
and carried out a joint scheme, business plan, or policy in all respect thereto and, therefore, the
acts of each of these Defendants are legally attributable to the other Defendants, and that these
Defendants, in all respects, acted as employers and/or joint employers of Plaintiff in that each of
them exercised control over her wage payments and control over her duties.

22, Plaintiff is informed and believes, and on that basis alleges that, at all relevant
times, each and every Defendant has been the agent, employee, representative, servant, master,
employer, owner, agent, joint venture, and alter ego of each of the other and each was acting
within the course and scope of his or her ownership, agency, service, joint venture and
employment.

23. At all times mentioned herein, each and every Defendant was the successor of the
other and each assumes the responsibility for the acts and omissions of all other Defendants.
III. VENUE AND JURISDICTION

24. This Court has jurisdiction over the subject matter of this action under 28 U.S.C.
§ 1331 because this action arises under the FLSA, 29 U.S.C. §§ 201, et seq.

25. Venue is proper in this District because all or a substantial portion of the events
forming the basis of this action occurred in this District. Defendants’ club is located in this
District and Plaintiff worked in this District,

IV. ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
(AGAINST ALL DEFENDANTS)

A. FACTUAL ALLEGATIONS

26, Defendants operate an adult-oriented entertainment facility located at 1515
Russell Cave Road, Lexington, Kentucky 40505,

27, At all times mentioned herein, Defendants were “employer(s)” or “joint

employer(s)” of Plaintiff.

 

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28. Atall times during the three (3) years prior to the filing of the instant action,
Defendants categorized all dancers/entertainers employed by Defendants as “independent
contractors” and have failed and refused to pay wages to such dancers,

29, At all times relevant to this action, Defendants exercised a great deal of
operational and management control over the subject clubs, particularly in the areas of terms
and conditions of employment applicable to dancers and entertainers.

30. Plaintiff began working as an exotic dancer for Defendants from approximately
December 2018 to October 2020.

31. The primary duty of an entertainer is to dance and entertain customers, and give
them a good experience. Specifically, an entertainer performs stage and table dances, and
entertains customers on an hourly basis.

32. Stated differently, entertainers dance on stage, perform table dances, and
entertain customers in VIP rooms, all while semi-nude.

33. Plaintiff worked and performed at the adult-oriented entertainment facility
muitiple shifts per week. Plaintiff was an integral part of Defendants’ business which operated
solely as an adult-oriented entertainment facility featuring semi-nude female entertainers,

34. Defendants did not pay entertainers on an hourly basis.

35. Defendants exercised significant control over Plaintiff during her shifts and
would demand that Plaintiff pay to work a particular shift.

36. Defendants set prices for all performances.

37. Defendants set the daily cover charge for customers and/or members to enter the
facility and had complete control over which customers and/or members were allowed in the
facility.

38. Defendants controlled music for Plaintiff's performances.

39, Defendants controlled the means and manner in which Plaintiff could perform.

40. Defendants had the authority to suspend, fine, fire, or otherwise discipline

 

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entertainers for non-compliance with their rules regarding dancing.

41. Defendants actually suspended, fined, fired, or otherwise disciplined entertainers
for non-compliance with their rules regarding dancing.

42. Although Defendants allowed entertainers to choose their own costumes,
Defendants reserved the right to decide what a particular entertainer was allowed to wear on the
premises. In order to comply with COWBOY’S SHOWGIRLS’ dress and appearance standards,
Plaintiff typically expended approximately an hour of time each shift getting ready for work
without being paid any wages for such time getting ready.

43. Plaintiff was compensated exclusively through tips from Defendants’ customers.
That is, Defendants did not pay Plaintiff whatsoever for any hours worked at their
establishment.

44. Defendants also required Plaintiff to share her tips with Defendants, and other
non-service employees who do not customarily receive tips, including the managers, disc
jockeys, and the bouncers.

45. Defendants are in violation of the FLSA’s tipped-employee compensation
provision, 29 U.S.C. § 203(m), which requires employers to pay a tipped employee a minimum
of $2.13 per hour. Defendants also violated 29 U.S.C. § 203(m) when they failed to notify
Plaintiff about the tip credit allowance (including the amount to be credited) before the credit
was utilized. That is, Defendants’ exotic dancers were never made aware of how the tip credit
allowance worked or what the amounts to be credited were. Furthermore, Defendants violated
29 U.S.C, § 203(m) because they did not allow Plaintiff to retain all of her tips and instead
required that she divide her tips amongst other employees who do not customarily and regularly
receive tips. Because Defendants violated the tip-pool law, Defendants lose the right to take a
credit toward minimum wage.

46. Defendants exercised significant control over Plaintiff through written and

unwritten policies and procedures.

 

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47, Defendants provided and paid for all advertising and marketing efforts
undertaken on behalf of COWBOY’S SHOWGIRLS.

48. Defendants paid for the buildings used by COWBOY’S SHOWGIRL®’
maintenance of the facilities, the sound systems, stages, lights, beverages and inventory used at
the facilities.

49. Defendants made all hiring decisions regarding wait staff, security, entertainers,
managerial and all other employees on the premises.

20. Defendants’ opportunity for profit and loss far exceeded Plaintiff's opportunity
for profit and loss from work at COWBOY’S SHOWGIRLS.

51, Semi-nude dancing is an integral part of COWBOY’S SHOWGIRLS’
operations. COWBOY’S SHOWGIRLS’ advertising prominently displays semi-nude dancing
for its customers. COWBOY’S SHOWGIRLS is well known as a “strip club,”

52. Defendants need entertainers to successfully and profitably operate the

COWBOY’S SHOWGIRLS business model.

53. The position of entertainer requires no managerial skill of others,

54. Plaintiff'and other dancers were required to sell a minimum number of waters to
customers,

55. The position of entertainer requires little other skill or education, formal or
otherwise.

36. The only requirements to become an entertainer at COWBOY’S SHOWGIRLS
are “physical attributes” and the ability to dance seductively. The amount of skill required is
more akin to an employment position than that of a typical independent contractor,

57. Defendants failed to maintain records of wages, fines, fees, tips and gratuities
and/or service charges paid or received by entertainers.

58. Plaintiff was not paid an hourly minimum wage or any hourly wage or salary

despite being present at Defendants’ facility and required to work and entertain its customers at

 

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any time during her work shift.

59. Plaintiff was not paid an hourly minimum wage for the typical two (2) hours of
time expended prior to each shift to get ready for work, including applying makeup and hair,
and to comply with Defendants’ dress and appearance standards. Plaintiff estimates that she
spent approximately five hundred U.S. Dollars ($500.00) annually on makeup, hair-related
expenses and outfits.

60. The FLSA Collective Members had the same pay structure and were under the
same controls as Plaintiff.

61. Plaintiff and FLSA Collective Members would work over forty (40) hours during
most weeks each worked for Defendants.

62. Defendants have never paid Plaintiff and the FLSA Collective Members any
amount as wages whatsoever, and have instead unlawfully required Plaintiff and FLSA
Collective Members to pay them for the privilege of working.

63. The only source of monies received by Plaintiff (and the Collective she seeks to
represent) relative to her employment with Defendants came in the form of gratuities received
directly from customers, a portion of which Plaintiff and the FLSA Collective Members were
required to pay to Defendants.

64, Although Plaintiff and the FLSA Collective Members are required to and do in
fact frequently work more than forty (40) hours per workweek, they are not compensated at the
FLSA mandated time-and-a-half rate for hours in excess of forty (40) per workweek. In fact,
they receive no compensation whatsoever from Defendants and thus, Defendants violate the
minimum wage requirement of FLSA. See 29 U.S.C. § 206,

65. Defendants’ method of paying Plaintiff in violation of the FLSA was willful and
was not based on a good faith and reasonable belief that its conduct complied with the FLSA.
Defendants misclassified Plaintiff with the sole intent to avoid paying her in accordance to the

FLSA; the fees and fines described herein constitute unlawful “kickbacks” to the employer

 

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within the meaning of the FLSA, and Plaintiffs are entitled to restitution of such fines and fees.

66. Plaintiff and FLSA Collective Members who worked at COWBOY’S
SHOWGIRLS performed precisely the same job duties - dancing and entertaining at
COWBOY’S SHOWGIRLS.

67. Plaintiff and FLSA Collective Members who worked at COWBOY’S
SHOWGIRLS during the applicable limitations period(s) were subject to the same work rules
established by the Defendants as identified above.

68. Plaintiff and FLSA Collective Members at COWBOY’S SHOWGIRLS were
subject to the terms and conditions of employment and the same degree of control, direction,
supervision, promotion and investment imposed or performed by Defendants.

69. Plaintiff and FLSA Collective Members at COWBOY’S SHOWGIRLS during
the applicable limitations period(s) were subject to the same across-the-board, uniformly applied
corporate policy mandated by Defendants.

70. Plaintiff and the FLSA Collective Members at COWBOY’S SHOWGIRLS,
during the applicable limitations period, were subject to the same fees and fines imposed by
Defendants.

71. Defendants required Plaintiff to pay fees to Defendants and other COWBOY’S
SHOWGIRLS employees, including but not limited to managers, DJs and doormen.

72. Defendants required Plaintiff to pay fees to Defendants and other COWBOY’S
SHOWGIRLS employees for reasons other than the pooling of tips among employees who
customarily and regularly received tips.

73. As aresult of Defendants’ across-the-board, standard operating procedure of
mischaracterizing dancers/entertainers as “independent contractors” and their consequent failure
to pay any wages or compensation whatsoever, it is a certainly that numerous other current and
former dancers and entertainers who worked at COWBOY’S SHOWGIRLS during the

applicable limitations period would elect to participate in this action if provided notice of same.

 

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74, Upon information and belief, more than one hundred (100) dancers and
entertainers have worked at COWBOY’S SHOWGIRLS during the three (3) years prior to the
filing of this action.

75. Plaintiff is “similarly situated” to the 29 U.S.C. § 216(b) class of persons she
seeks to represent, and will adequately represent the interests of the class.

76. Plaintiff has hired Counsel experienced in class actions and in collective actions
under 29 U.S.C. § 216(b) who will adequately represent the class.

77. Defendants failed to keep records of tips, gratuities and/or service charges paid to
Plaintiff or any other entertainer and failed to maintain and furnish wage statements to Plaintiff.

78. Federal law mandates that an employer is required to keep for three (3) years all
payroll records and other records containing, among other things, the following information:

a. The time of day and day of week on which the employees’ work week begins;

b. The regular hourly rate of pay for any workweek in which overtime compensation

is due under 29 U.S.C. § 207(a);

c. An explanation of the basis of pay by indicating the monetary amount paid on a per

hour, per day, per week, or other basis;

d. The amount and nature of each payment which, pursuant to 29 U.S.C. § 207(c), is

excluded from the “regular rate”;

e. The hours worked each workday and total hours worked each workweek;

f. The total daily or weekly straight time earnings or wages due for hours worked

during the workday or workweek, exclusive of premium overtime compensation;

g. The total premium for overtime hours. This amount excludes the straight-time

earnings for overtime hours recorded under this section;

h. The total additions to or deductions from wages paid each pay period including

employee purchase orders or wage assignments;

 

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i. The dates, amounts, and nature of the items which make up the total additions and
deductions;
j. The total wages paid each pay period; and

k, The date of payment and the pay period covered by payment.
29 C.F.R. 516.2, 516.5.

79. Defendants have not complied with federal law and have failed to maintain such
records with respect to Plaintiff and the FLSA Collective Members. Because Defendants’
records are inaccurate and/or inadequate, Plaintiff and the FLSA Collective Members can meet
their burden under the FLSA by proving that they, in fact, performed work for which they were
improperly compensated, and produce sufficient evidence to show the amount and extent of
their work “as a matter of a just and reasonable inference.” See, e.g., Anderson v. Mt. Clemens
Pottery Co., 328 U.S, 680, 687 (1946), Plaintiff secks to put Defendants on notice that she
intends to rely on Anderson to provide the extent of her unpaid work.

B. INDIVIDUAL LIABILITY UNDER THE FLSA

80. Under 29 U.S.C. § 203(d), the FLSA defines an “employer” to include“any person
acting directly or indirectly in the interest of an employer in relation toan employee. In Dole v.
Eliott Travel & Tours, Inc., the U.S. Court of Appeals forthe Sixth Circuit held that individuals
can be liable for FLSA violations under an expansive interpretation of “employer” for directors
and officers. Dole v. Elliott Travel & Tours, Inc., 942 F.2d 962 (6th Cir. 1991), The FLSA
defines “employer” as “any person acting directly or indirectly in the interest of an employer in
relation to an employee.” 29 U.S.C, § 203(d).

81. | Where an individual exercises “control over the nature and structure ofthe
employment relationship,” or “economic control” over the relationship, that individual is an
employer within the meaning of the FLSA and is subject to liability Lambert v, Ackerley 180 F.3d
997 (9th Cir. 1999), Factors related to “economic control,” include ownership interest,

operational control of significant aspects of theday-to-day functions, the power to hire and fire

 

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employees, determine salaries, andthe responsibility to maintain employment records. Gray, 673
F.3d at 355 (citing Williams v. Henagan, 595 F.3d 610, 615 (5th Cir. 2010).

82. Defendants Warren King and Kevin King are individually liable for failing to
pay Plaintiff her wages pursuant to the FLSA under the tests expressed in Dole v, Elliott Travel
& Tours, Inc., 942 F.2d 962 (6th Cir. 1991) and Fegley v. Higgins, 19 F.3d 1126 (6th Cir. 1994)

83. The actual identities of DOES 1-10 are unknown at this time.

Vv. COLLECTIVE ACTION ALLEGATIONS

84, Plaintiff hereby incorporates by reference and re-alleges each and every
allegation set forth in each and every preceding paragraph as though fully set forth herein.

85. Plaintiff brings this action as an FLSA collective action pursuant to 29 U.S.C,

§ 216(b) on behalf of all persons who were or are employed by Defendants as exotic
dancers/entertainers at any time during the three (3) years prior to the commencement of this
action to present.

86. Plaintiff has actual knowledge that FLSA Collective Members have also been
denied overtime pay for hours worked over forty (40) hours per workweek and have been
denied pay at the federally mandated minimum wage rate, That is, Plaintiff worked with other
dancers/entertainers at COWBOY’S SHOWGIRLS, As such, she has firsthand personal
knowledge of the same pay violations throughout Defendants’ club. Furthermore, other exotic
dancers/entertainers at Defendants’ club have shared with her similar pay violation experiences
as those described in this Complaint.

87. Other employees similarly situated to Plaintiff work or have worked at
COWBOY’S SHOWGIRLS but were not paid overtime at the rate of one and one-half (1.5)
their regular rate when those hours exceeded forty (40) hours per workweck. Furthermore, these
same employees were denied pay at the federally mandated minimum wage rate.

88. Although Defendants permitted and/or required the FLSA Collective Members to

work in excess of forty (40) hours per workweek, Defendants have denied them full

 

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compensation for their hours worked over forty (40). Defendants have also denied them full
compensation at the federally mandated minimum wage rate.

89. FLSA Collective Members perform or have performed the same or similar work
as the Plaintiff.

90. FLSA Collective Members regularly work ot have worked in excess of forty (40)
hours during a workweek.

91. FLSA Collective Members regularly work or have worked and did not receive
minimum wage.

92. FLSA Collective Members are not exempt from receiving overtime and/or pay at
the federally mandated minimum wage rate under the FLSA.

93. As such, FLSA Collective Members are similar to Plaintiff in terms of job duties,
pay structure, misclassification as independent contractors and/or the denial of overtime and
minimum wage.

94. Defendants’ failure to pay overtime compensation and hours worked at the
minimum wage rate required by the FLSA results from generally applicable policies or
practices, and does not depend on the personal circumstances of the FLSA Collective Members.

95. The experiences of Plaintiff, with respect to her pay, are typical of the
experiences of the FLSA Collective Members, |

96. The specific job titles or precise job responsibilities of each FLSA Collective
Member does not prevent collective treatment.

97, All FLSA Collective Members, irrespective of their particular job requirements,
are entitled to overtime compensation for hours worked in excess of forty (40) during a
workweek.

98. All FLSA Collective Members, irrespective of their particular job requirements,
are entitled to compensation for hours worked at the federally mandated minimum wage rate.

99. Although the exact number of damages may vary among FLSA Collective

 

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Members, the damages for the FLSA Collective Members can be easily calculated by a simple
formula. The claims of all FLSA Collective Members arise from a common nucleus of facts.
Liability is based on a systematic course of wrongful conduct by the Defendant that caused
harm to all FLSA Collective Members.
100. As such, Plaintiff brings her FLSA claims as a collective action on behalf of the
following class:
All of Defendants’ current and former exotic dancers/entertainers who
worked at Cowboy’s Showgirls in Lexington, Kentucky at any time
starting three years before this Complaint was filed.
VI. CAUSES OF ACTION
FIRST CAUSE OF ACTION
FAILURE TO PAY MINIMUM WAGE PURSUANT TO FLSA, 29 U.S.C. § 206
(By Plaintiff Individually and on Behalf of the Collective Against All Defendants)
101. Plaintiff hereby incorporates by reference and re-alleges each and every
allegation set forth in each and every preceding paragraph as though fully set forth herein.
102. Defendants are engaged in “commerce” and/or in the production of “goods” for
“commerce” as those terms are defined in the FLSA.
103. Defendants operate an enterprise engaged in commerce within the meaning of the
FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in commerce, and because its
annual gross volume of sales made is more than five hundred thousand U.S. Dollars ($500,000).
104. Defendants failed to pay Plaintiff the minimum wage in violation of 29 U.S.C. §
206.
105. Based upon the conduct alleged herein, Defendants knowingly, intentionally and
willfully violated the FLSA by not paying Plaintiff the minimum wage under the FLSA,
106. Throughout the relevant period of this lawsuit, there is no evidence that

Defendants’ conduct that gave rise to this action was in good faith and based on reasonable

 

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grounds. In fact, Defendants continued to violate the FISA long after it learned that its
misclassification scheme and compensation policies were illegal.

107, Due to Defendants’ FLSA violations, Plaintiff is entitled to recover from
Defendants, minimum wage compensation and an equal amount in the form of liquidated
damages, as well as reasonable attorneys’ fees and costs of the action, including interest,
pursuant to 29 U.S.C. § 216(b),

SECOND CAUSE OF ACTION
ILLEGAL KICKBACKS, 29 C.F.R. § 531.35
(By Plaintiff Individually and on Behalf of the Collective Against All Defendants)

108. Plaintiff hereby incorporates by reference and re-alleges each and every allegation
set forth in each and every preceding paragraph as though fully set forth herein,

109. Defendants required Plaintiff to pay monetary fees to Defendants and other
COWBOY’S SHOWGIRLS employees who did not work in positions that are customarily and
regularly tipped, in violation of 29 U.S.C. § 203(m).

110. Defendants’ requirement that Plaintiff pay fees to Defendants and other
COWBOY’S SHOWGIRLS employees violated the “free and clear” requirement of 29 C.F.R. §
531.35.

111, Because Defendants violated the “free and clear” requirement of 29 C.F.R. §
531,35 as alleged above, they were not entitled to utilize the FLSA’s tip-credit provision with
respect to Plaintiff's wages.

112, Because Defendants violated the “free and clear” requirement of 29 C.F.R. §
531.35, all monetary fees imposed on Plaintiff are classified as illegal kickbacks.

113. Plaintiff is entitled to recover from Defendants all fees that Defendants required
Plaintiffto pay in order to work at COWBOY’S SHOWGIRLS, involving but not limited to
house fees and tip sharing.

Hf

 

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THIRD CAUSE OF ACTION
UNLAWFUL TAKING OF TIPS IN VIOLATION OF THE FLSA, 29 U.S.C, § 203
(By Plaintiff Individually and on Behalf of the Collective Against All Defendants)

114. Plaintiff hereby incorporates by reference and re-alleges each and every allegation
set forth in each and every preceding paragraph as though fully set forth herein.

115, Plaintiff customarily and regularly received more than thirty U.S. Dollars
($30.00) a month in tips and therefore is a tipped employee as defined in the FLSA, 29 U.S.C. §
203(t), see also 29 C.F.R. § 531.50.

116. Atall relevant times, each Defendants were “employer(s)” or “joint employer(s)”
of Plaintiff within the meaning of the FLSA, 29 U.S.C. § 203(d).

117. Defendants are engaged in “commerce” and/or in the production of “goods” for
“commerce” as those terms are defined in the FLSA.

118. Defendants operate an enterprise engaged in commerce within the meaning for
the FLSA, 29 U.S.C. § 203(s)(1), because it has. employees engaged in commerce, and because
its annual gross volume of sales made is more than five hundred thousand U.S. Dollars |
($500,000).

119. Under the Tip Income Protection Act (“TIPA”):

[a]Jn employer may not keep tips received by its employees for any purpose
including allowing managers or supervisors to keep any portion of
employees’ tips, regardless of whether or not it takes a tip credit.

29 U.S.C. § 203 (m)(2)(B).

120. Defendants kept a portion of tips paid to Plaintiff by Defendants’ customers in the
form of fees, fines, mandatory charges and other payments to management, disc jockeys, and
door men in violation of TIPA.

121. Defendants required Plaintiff to participate in an illegal tip pool, which included

employees who do not customarily and regularly receive tips, and do not have more than a de

 

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minimis, if any, interaction with customer leaving the tips (such as the Club DJ, security, and
management). See U.S. Dep’t of Labor, Wage and Hour Division, “Fact Sheet # 15: Tipped
employees under the Fair Labor Standards Act (FLSA).”

122, The contribution Defendants required Plaintiff to make after each shift was
arbitrary and capricious and distribution was not agreed to by Plaintiff other dancers; but rather,
was imposed upon Plaintiff and other dancers.

123, By requiring Plaintiff to pool her tips with club management, including the
individual Defendants named herein, Defendants “retained” a portion of the tips received by
Plaintiff in violation of the FLSA.

124. Defendants did not make any effort, let alone a “good faith” effort, to comply
with the FLSA as it relates to compensation owed to Plaintiff.

125. At the time of their illegal conduct, Defendants knew or showed reckless
disregard that the tip-pool which they required Plaintiff to contribute included non-tipped
employees and, therefore, was statutorily illegal. In spite of this, Defendants willfully failed and
refused to pay Plaintiff the proper amount of the tips to which she was entitled.

126. Defendants’ willful failure and refusal to pay Plaintiff the tips she earned violates
the FLSA.

127. Defendants kept a portion of tips paid to Plaintiff by Defendants’ customers in the
form of fees, fines, mandatory charges and other payments to management, house moms, disc
jockeys, and door men in violation of TIPA.

128. Asa result of the acts and omissions of the Defendants as alleged herein, and
pursuant to 29 U.S.C. §§ 216(b) and 260, Plaintiff is entitled to damages in the form of all
misappropriated tips, plus interest; as liquated damages, an amount equal to all misappropriated
tips, mandatory attorneys’ fees, costs, and expenses.

Hf
Hf

 

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FOURTH CAUSE OF ACTION
FORCED TIPPING, 29 C.F.R. § 531.35
(By Plaintiff Individually and on Behalf of the Collective Against All Defendants)
129, Plaintiff hereby incorporates by reference and re-alleges each and every
allegation set forth in each and every preceding paragraph as though fully set forth herein.

130. Defendants required Plaintiff to pay monetary fees to other COWBOY’S
SHOWGIRLS employees who did not work in positions that are customarily and regularly
tipped, in violation of 29 U.S.C. § 203m).

131. Defendants’ requirement that Plaintiff pay fees to other COWBOY’S
SHOWGIRLS employees violated the “free and clear” requirement of 29 C.F.R. § 531.35,

132. Because Defendants violated the “free and clear” requirement of 29 C.F.R. §
531.35 as alleged above, they were not entitled to utilize the FLSA’s tip-credit provision with
respect to Plaintiff's wages.

133. Plaintiff is entitled to recover from Defendants all fees that Defendants required
Plaintiff to pay other employees in order to work at COWBOY’S SHOWGIRLS, involving but

not limited to forced tip sharing.

 

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PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests of this Court the following relief:

1. For compensatory damages according to proof at trial of at least $100,000;

2. For special damages according to proof at trial;

3. For restitution of unpaid monies;

4, For attorneys’ fees;

5. For costs of suit incurred herein;

6. For statutory penalties:

7. For civil penalties;

8. For pre-judgment interest;

9. For post-judgement interest;

10, For general damages in an amount to be proven at trial;

11. For declaratory relief;

12. For injunctive relief; and
. 13. For such other and further relief as the tribunal may deem just and proper.
Dated: October 22, 2021 /s/ Liz J. Shepherd

Liz J. Shepherd

Kentucky Bar No. 84033

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DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury for all such triable claims.

Dated: October 22, 2021 fs/ Liz J. Shepherd
Liz J, Shepherd
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